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                             UNITED STATES DISTRICT COURT
                                DISTRICT OF NEW JERSEY

         PATEL, et al.,                        .
                                               .
                  Plaintiffs,                  .
                                               . Case No. 14-cv-08127
         vs.                                   .
                                               . Newark, New Jersey
         PANDYA, et al.,                       . September 10, 2015
                                               .
                  Defendants.                  .
                                               .



                                TRANSCRIPT OF HEARING
                           BEFORE THE HONORABLE MARK FALK
                           UNITED STATES MAGISTRATE JUDGE


         APPEARANCES:

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     1                 (Commencement of proceedings at 11:22 A.M.)

     2

     3                 THE COURT:           This is the case of Patel, et al.,

     4   versus Pandya, et al..               it's Docket 14-8127.

     5                 May I have the appearances of counsel, please.

     6                 MR. JACOBS:           Justin Jacobs, and Kathleen Barnett

     7   Einhorn of Genova Burns for plaintiffs Jagdish and Kishan

     8   Patel.

     9                 MR. RUSSELL:           Ken Russell here on behalf of the

    10   defendants plural, J. Pandya is accompanying me at the table,

    11   and multiple entities, which are owned by Mr. Pandya were

    12   sued in the matter.

    13                 I also represent Krupa Patel, an employee of

    14   Mr. Pandya, who was also sued in the matter.

    15                 THE COURT:           Okay.   Well, we've had a number of

    16   con- -- conferences and contacts.                And there seemed to be a

    17   certain level of dissatisfaction and problems with discovery,

    18   et cetera.        And indeed I had scheduled a conference at one

    19   point, and I believe the defendants didn't appear, perhaps

    20   through a scheduling error.                But just given the tenor of the

    21   discourse the last time I spoke off the record on the

    22   telephone with counsel, I thought it best to address things

    23   on the record at this point.

    24                 So I'll ask both -- I guess I'll begin with the

    25   plaintiff.        And we have a discovery end date, I believe of --
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     1   in December.

     2                 Is that correct?

     3                 MR. JACOBS:           That's correct.

     4                 THE COURT:           Is there anything that the plaintiffs

     5   feel that they have not received in terms of discovery or

     6   anything along those lines?

     7                 MR. JACOBS:           Yeah, there are a few issues, one of

     8   which is we received documents in connection with defendants'

     9   Rule 26 disclosures.               But those documents were all out of

    10   order, so they were Bates-stamped, but we would, for example,

    11   have Bates-stamped 1302, and then the next page would be, you

    12   know, 1404.        So there's no way to kind of read it in

    13   Bates-stamped order.

    14                 We've asked a number of times whether or not we can

    15   get it in Bates-stamped order.               And we just haven't received

    16   it.    It's been, what, months now.

    17                 THE COURT:           So -- I guess I can hear from the

    18   defendants on that, but it seems to me you're here for that

    19   purpose.       So I can make any jury room available for you to go

    20   in there and take care of that right now.

    21                 MR. JACOBS:           I mean -- and then -- so in addition,

    22   we served defendants with a deficiency letter with respect to

    23   their interrogatories and document requests.               We gave them, I

    24   think, until next week to respond to that deficiency letter,

    25   and then we -- if we aren't able to work out those issues, we
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     1   would like to raise those with the Court.

     2                 THE COURT:           Well, I think you should work those out

     3   today also in my jury room, and then later in the afternoon,

     4   I can decide any issues, if I need to, if there is simple

     5   questions like that.

     6                 What's next?           Is there anything else?

     7                 MR. JACOBS:           We have an issue where we issued a

     8   subpoena to Paren Dixit, who's the accountant for a few of

     9   the entities that are defendants in this matter.                    They were

    10   told not to respond for a while.                    We've resolved those

    11   objections.        But that company has not responded to the

    12   subpoena to date.           We've told them that we're going to bring

    13   a motion, if we need to.               It's an outstanding discovery

    14   issue.      But it's not -- it's not an issue necessarily with

    15   respect to the defendants at this time because we've resolved

    16   their objections.

    17                 But I wanted to at least, you know, raise it so

    18   it's on the record.

    19                 THE COURT:           Okay.    Good.

    20                 Is that all the plaintiff has?

    21                 MR. JACOBS:           Yeah, and we were under the impression

    22   that this was a settlement conference as well --

    23                 THE COURT:           I'm going to get to that.

    24                 MR. JACOBS:           Okay.

    25                 THE COURT:           But, you know, I have other cases and I
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     1   was ready to have a settlement conference the last time.               I'm

     2   ready to have it again, and I will.             But I wanted to see if

     3   there were things that in the interim were prior to the

     4   settlement conference, so you can go and confer, and so if

     5   we -- if we don't settle the case, I can resolve your

     6   discovery disputes, that way moving the case along, which I

     7   think is in everyone's interest.             Okay?

     8                 Defendant, do you have any issues?

     9                 MR. RUSSELL:         Well, let me just address those, the

    10   Paren Dixit matter is straightened out, so there'll be

    11   production -- whether they produce or not.             If they don't,

    12   it's out of our hands.

    13                 The renumbering of the 4,000 documents we provided

    14   to them, we indicated that we would renumber them.             That's a

    15   second issue.

    16                 We did get this week a 15-page deficiency letter

    17   from the plaintiffs, which frankly, I received and we're

    18   looking at.        So I -- 15 pages' worth.

    19                 That -- those are the three matters they had

    20   raised.      We're more than willing to look at the deficiency

    21   letter and respond to it next week.

    22                 So it sounds like the discovery issues, we will

    23   renumber the 4,000 pages we provided, and that's fine.

    24                 With regard to our discovery, we provided them over

    25   4,000 documents just on the Rule 26 disclosures.             We've
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     1   received very few documents back, especially just pursuant to

     2   the Rule 26 disclosures.

     3                 In addition, we had requests for production of

     4   documents.        We haven't received anything.    We haven't even

     5   received the emails that we sent to them that their clients

     6   sent to us.

     7                 So the issue -- one of the issues in this case is

     8   that when we -- when the plaintiff and defendant were going

     9   to purchase a string of Pizza Huts up in Connecticut, that

    10   you didn't provide me enough information in order to allow me

    11   to understand what the transaction was, and then, in fact,

    12   you defrauded me with the information you provided us.

    13                 So one of the key ingredients is that we receive

    14   back from them everything that they received from us.           It's

    15   not good enough that we just sent them what we have.           They

    16   should send us what they received so that we have that,

    17   Bates-stamped from them, and we'd say here's the 3,000

    18   documents that we sent you so that you can do your due

    19   diligence prior going into this transaction.

    20                 We haven't received any of those documents.

    21                 And -- and we didn't even receive back things that

    22   we've already sent them.

    23                 So those -- that's -- that's the one issue.

    24                 We have -- so we haven't even received any of those

    25   documents yet.          And there are other documents that we're
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     1   expecting -- there was a subpoena issued, for example, and

     2   they've received the documents pursuant to the subpoena.                    Our

     3   agreement was that when they received those documents, they

     4   would pass them right along to us.

     5                 Well, they've had them now for three weeks, and we

     6   haven't received any of them.

     7                 I only raise these because what's happening is it

     8   is becoming a pattern.               I don't -- we're in the case.     We're

     9   litigating the case.               We give them 4,000 documents, Rule 26,

    10   we're giving them everything we have, and we're being

    11   document-starved.

    12                 THE COURT:           Okay.    I understand that that's a --

    13   we'll resolve those questions today.

    14                 MR. JACOBS:           Yeah, and, Judge, we'd like to respond

    15   to --

    16                 THE COURT:           Yeah, I'm -- but at first I want you to

    17   go and talk about it.               See?    In other words, I want you to go

    18   and talk about them, because I have a lot of other people

    19   waiting --

    20                 MR. JACOBS:           Would you prefer that as opposed to --

    21                 THE COURT:           Well, I wanted to hear what the issues

    22   were.

    23                 MR. JACOBS:           Okay.

    24                 THE COURT:           But I mean, when we get -- I'll get

    25   down to the specifics with you.                 I'll go over all the
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     1   documents.

     2                 MR. JACOBS:           Okay.

     3                 THE COURT:           I'm going to resolve your disputes

     4   today.

     5                 MR. JACOBS:           Excellent.

     6                 THE COURT:           But I mean, it's not going to happen

     7   immediately, so ...

     8                 MR. JACOBS:           Understood.

     9                 THE COURT:           Is there anything else you want to say

    10   right now?

    11                 Okay.      Thank you.         Let's go off the record.

    12          (Recess:       11:29 A.M. to 4:52 P.M.)

    13

    14                 THE COURT:           This is the case of Patel, et al.,

    15   versus Pandya, et al., Docket 14-8127.

    16                 Could you please -- I know you were here this

    17   morning -- could you please put your appearances on the

    18   record, once again.            And then you can be seated.

    19                 MR. PARIKH:           Your Honor, Raj Parikh and Justin

    20   Jacobs from Genova Burns LLC.                 I'll note for the record,

    21   Your Honor, that I was on a plane this morning, I came right

    22   from the airport, so my partner, Kathleen Einhorn was here

    23   this morning, but I substituted in for her around

    24   one o'clock.

    25                 THE COURT:           Okay.    Excellent.   Thank you.
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      1                 MR. RUSSELL:           Your Honor, Ken Russell here on

      2   behalf of J. Pandya and all of the defendants.

      3                 THE COURT:           All right.   Very well.

      4                 I mean, the parties appeared here in the morning,

      5   and I think spent most of the day here.                 Apparently, there

      6   were some outstanding discovery disputes, perhaps some other

      7   kinds of disputes, and I understand that you have reached

      8   some agreement, and you want to read something into the

      9   record.

     10                 So feel free.

     11                 MR. RUSSELL:           Yes, Your Honor.

     12                 THE COURT:           You can be seated if you want to, just

     13   to -- you know, for comfort's sake.

     14                 MR. RUSSELL:           Yes, Your Honor, I have the initial

     15   document agreement, and Raj will read in the -- the

     16   agreements that we've had had on interrogatories, and then

     17   we'll identify disagreements.

     18                 THE COURT:           Okay.

     19                 MR. RUSSELL:           So on Tuesday, September 17th, the

     20   parties have agreed they will exchange and agree upon search

     21   terms which will be utilized to conduct their ESI production.

     22                 All parties will produce relevant documents in

     23   their possession, including but not limited to emails and

     24   other electronic discovery conducted pursuant to the

     25   agreed-to search terms on or before September 28th, 2015.
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      1                 The production shall be Bates-stamped and produced

      2   in Bates-stamped order.

      3                 On or before October 5th, the parties shall

      4   identify documents needed to be produced in native format.

      5                 On or before October 19th, the parties shall

      6   produce native-format documents pursuant to a mutually

      7   agreed-to process.

      8                 On or before October 26th, the parties shall have

      9   agreed to and conducted an inspection of the books and

     10   records of CT Pizza.               Your Honor, that primarily entails us

     11   getting a date where the plaintiffs can come and inspect the

     12   books and records, which we'll make available at our offices.

     13   And then any and all -- well -- any and all interrogatory

     14   responses shall identify the documents which are responsive

     15   to that request.           But I know Raj will get into that.

     16                 MR. PARIKH:          Judge, we -- the plaintiffs agree with

     17   all those dates.

     18                 The only other date I would -- I would put in,

     19   Judge, is that the parties have agreed that any supplemental

     20   interrogatory responses reflected by the agreements I'll read

     21   in momentarily, will be provided by October 19th as well.

     22                 There are disagreements related to four

     23   interrogatories of documents, Judge.               Do you want us to deal

     24   with those now, or you want to read all the agreements first

     25   and then the disagreements?
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      1                 THE COURT:           You mean there's more agreements of

      2   things?

      3                 MR. JACOBS:           There are agreements on

      4   interrogatories, specifically with respect to what's going to

      5   be done.

      6                 THE COURT:           Well, might as well -- if you want to

      7   put them on the record that way, you can.

      8                 MR. JACOBS:           Yeah --

      9                 THE COURT:           I don't know how you -- you know,

     10   normally things are formalized with an order.                 Now, you can

     11   have an order that refers to what you put on the record.                  Or

     12   you can have no order, if you don't feel an order is

     13   necessary.

     14                 MR. RUSSELL:           Your Honor -- Your Honor, maybe an

     15   agreed-to order on interrogatories would be -- we can go back

     16   and forth and submit an agreed-to order.

     17                 THE COURT:           Or you can just have an order saying

     18   for things that are -- for every -- for everything agreed on

     19   the record.

     20                 MR. PARIKH:           That's my preference, Judge.

     21                 THE COURT:           And I'll sign it.

     22                 MR. PARIKH:           Because there's a lot of details here.

     23   So my preference would be to just read them in.

     24                 THE COURT:           How long is it going to take you to

     25   read into the record?
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      1                 MR. PARIKH:           I would say no more than three or four

      2   minutes.

      3                 THE COURT:           Oh, that's easy.

      4                 MR. PARIKH:           Right.

      5                 THE COURT:           Go ahead.

      6                 MR. PARIKH:           So, Judge, with respect to plaintiff's

      7   Interrogatory 2, the LLC defendants, as to the objection

      8   Interrogatory Number 1, the parties -- the plaintiffs will

      9   deal with that at a deposition.

     10                 As to Interrogatory Number 4, the parties have, as

     11   counsel referred to, have agreed globally that to

     12   interrogatories where the response relies upon documents that

     13   have been produced, the parties will identify those documents

     14   by specific Bates identification rather than providing a

     15   summary of what the documents may state or whatever that may

     16   be, and we've referred to that as the global agreement

     17   regarding Bates identification.

     18                 So that is the way that the responses to

     19   Interrogatory Number 4 of LLC defendants will be

     20   supplemented.

     21                 And with respect to Interrogatory Number 6 of the

     22   LLC defendant, they will supplement the response -- what the

     23   parties have agreed to is that following the inspection of

     24   the books and records, which is going to take place before

     25   October 26th, following that, any supplemental questions
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      1   necessary will be directed to counsel and then can be

      2   responded to in that manner.

      3                 That's it with respect to objections and issues

      4   related to the LLC defendant interrogatories, Judge.

      5                 With respect to CT Pizza, the CT Pizza defendant

      6   and the interrogatories there, plaintiffs have agreed to deal

      7   with the objections to Interrogatory Number 1 at a

      8   deposition.

      9                 The parties will identify documents referred to or

     10   relied upon in response by Bates ID, that's that global

     11   agreement as to Interrogatories Numbers 2, 5, 11, and 12.

     12                 As to Interrogatory Number 4, defendant has agreed

     13   to withdraw the objection and identify the applicable

     14   documents by Bates ID as well.

     15                 As to Interrogatory Number 6, CT Pizza has

     16   previously sent correspondence regarding this issue and will

     17   be sending supplemental correspondence that will serve as

     18   their responses to interrogatory.

     19                 As to Interrogatory Number 10, once the books and

     20   records are produced, then CT Pizza has agreed to respond to

     21   supplemental requests based upon those books and records so

     22   that the inquiry can be narrowed properly.

     23                 As to supplemental responses will be provided as to

     24   Interrogatories 16 and 18.

     25                 As to Interrogatory 19, CT Pizza has affirmed that
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      1   it has only been sued once, related to open invoices.

      2                 Those are the issues with respect to the CT Pizza

      3   defendant, Your Honor.

      4                 With respect to defendant Krupa Patel, Your Honor,

      5   plaintiffs have agreed to withdraw their objections and rely

      6   on deposition questions for Interrogatories 1, 2, 3, 6, and

      7   10.

      8                 The Interrogatory Number 5 will be supplemented by

      9   Ms. Patel with the global Bates identification agreement.

     10                 Ms. Patel has agreed to clarify in Interrogatory

     11   Number 7 that the loan documents referred to in the answer

     12   are the CT Pizza financing documents that were executed by

     13   Mr. Pandya.

     14                 As to Interrogatory Number 12, Ms. Patel has agreed

     15   to supplement that response.

     16                 Those are the only issues, Your Honor, with respect

     17   to defendant Krupa Patel's interrogatories.

     18                 With respect to defendant J. Pandya's interrogatory

     19   responses, the parties have agreed that Interrogatory

     20   Responses 2, 5, and 11 will be supplemented pursuant to the

     21   global Bates identification agreement, have agreed that the

     22   response to Interrogatory Number 14, that Mr. Pandya will

     23   provide a privilege log and identify any other responsive

     24   documents by Bates number.

     25                 Mr. Pandya has agreed to supplement his responses
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      1   to Interrogatory Number 20 and 22.

      2                 And as to Interrogatory Number 9, Mr. Pandya has

      3   agreed that following the inspection of books and records,

      4   that plaintiffs can submit follow-up requests and get more

      5   specific answers.

      6                 There are agreement -- disagreements, Your Honor,

      7   with respect to Mr. Pandya's responses to Interrogatory 1,

      8   12, 17, 18, and 23.            Other than those, there are no other

      9   open issues with respect to Mr. Pandya's interrogatory

     10   responses.

     11                 And, finally, Judge, with respect to the

     12   interrogatories propounded by defendants, do you have an

     13   issue?      Or no?      I thought you were standing because you

     14   panted to stay something.

     15                 MR. RUSSELL:         No, no, no.   Go ahead.   I'm --

     16                 MR. PARIKH:          Okay.   All right.

     17                 Judge, finally with respect to the interrogatories

     18   propounded by defendants upon plaintiff Jagdish Patel, the

     19   parties have agreed or plaintiff has agreed that Mr. Patel

     20   will supplement his responses to Interrogatories Number 2, 5,

     21   and 19.

     22                 With respect to Interrogatory Number 25, Mr. Patel

     23   has agreed that he will identify by name and docket number

     24   and court any lawsuits where him or Kishan Patel, the other

     25   plaintiff, have been named as a party in the last five years.
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      1                 Interrogatories Number 8, 9, and 12, will be

      2   supplemented pursuant to the global Bates-stamping -- Bates

      3   identification agreement of the parties.

      4                 And with respect to the Interrogatory Number 10

      5   served on Jagdish Patel by the defendants, the defendant has

      6   withdrawn all but the last sentence of that interrogatory,

      7   and Mr. Patel will supplement his answer accordingly.

      8                 There are issues that have been raised with respect

      9   to Jagdish Patel's responses to Interrogatory Number 6, 11,

     10   13, 16, 17, 18, 23, and 24.                Other than that, the defendants

     11   have not identified any other deficiencies in the plaintiffs'

     12   interrogatory responses, Judge.

     13                 THE COURT:           Thank you.

     14                 MR. RUSSELL:           That is accurate, Your Honor.

     15                 THE COURT:           Okay.   Thank you.

     16                 MR. RUSSELL:           So, you know, Judge with respect to

     17   the document issues, there are really four of them.                  One is

     18   related to plaintiffs' request for documents related to a

     19   lawsuit that had been previously filed in the Eastern

     20   District of Pennsylvania against the defendant regarding

     21   fraud.

     22                 The second issue --

     23                 THE COURT:           Well, what's the issue there?   Why

     24   don't you just give him the docket number -- the defendant

     25   will give plaintiff the docket number and the parties, and
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      1   then you can get the information from it.               What about that?

      2                 MR. RUSSELL:           And that's fine, Judge.   The one --

      3   the one thing we wanted from that is the settlement agreement

      4   as well in that lawsuit.               We understand there's a settlement

      5   agreement.        We're happy to serve a subpoena on that.

      6                 THE COURT:           But why is that relevant?   I mean, how

      7   is a settlement -- I mean, you'd have to show that's

      8   relevant, and you have to be relevant to a claim or defense

      9   in the case.

     10                 Now you have a case here where you're -- you know,

     11   you're claiming fraud and RICO and fraudulent inducement

     12   regarding, you know, deliberately deceiving the plaintiffs

     13   into investing into joint ventures which include all these

     14   Pizza Huts.

     15                 So they had a lawsuit in Pennsylvania -- I know I

     16   didn't give you a chance to speak, Raj, yet, but I will.

     17                 And the question is the standard of discovery,

     18   although liberal, has to be relevant to a claim or defense.

     19                 So the fact that they were sued, you know, I think

     20   that's -- first of all, it's a matter of public record, and

     21   it's fine.        But how does this settlement -- how does that

     22   really play into -- how is that relevant to a claim or

     23   defense.

     24                 MR. RUSSELL:           Just so Your Honor's aware, there's a

     25   suit involving Mr. Pandya and Dunkin' Donuts and suit
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      1   involving the plaintiff and Dunkin' Donuts.

      2                 So I -- my position on this is whatever the Court

      3   decides on one, it's -- it's the same issue, because they're

      4   looking for documents related to our litigation with Dunkin'

      5   Donuts.      We're looking for documents related to their

      6   litigation for Dunkin' Donuts.                And that's --

      7                 THE COURT:           So these are both Dunkin' Donuts as

      8   opposed to Pizza Hut?               Or are they the same?

      9                 MR. RUSSELL:           These are both Dunkin' Donuts, who

     10   both were franchisees.

     11                 THE COURT:           With the same parties?     Or different

     12   parties or what?

     13                 MR. RUSSELL:           Different parties.   My client

     14   continues to be a franchisee.                Plaintiff dis -- has

     15   discontinued his franchisee.                So --

     16                 MR. PARIKH:           Judge, first -- the --

     17                 THE COURT:           Okay.

     18                 MR. PARIKH:           -- the request for records from that

     19   lawsuit was made for the first time today at the

     20   meet-and-confer conference.                There's never been a written

     21   interrogatory --

     22                 THE COURT:           Okay.

     23                 MR. PARIKH:           -- or anything like that.     But -- but

     24   with respect to Your Honor's question, to answer it directly,

     25   what's the relevance of that lawsuit and some of the
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      1   information in that lawsuit --

      2                 THE COURT:           Yeah.

      3                 MR. PARIKH:           -- is that part of -- part of the

      4   allegation here is that there has been a pattern of fraud

      5   that the defendants have engaged in and that they've done it

      6   over a number of years through a -- with a variety of

      7   sources.

      8                 And the allegations in the complaint of that

      9   lawsuit are similar to the allegations in this lawsuit.                 And

     10   we believe that by exploring what occurred in that situation,

     11   despite the fact that that case settled, that we will be able

     12   to -- have better information about defendants' pattern of

     13   fraud as it has continued, started then and then continued

     14   into his -- his new fraudulent attempt to the plaintiffs in

     15   this case.

     16                 One of the issues that -- that is related to that

     17   is that in the Dunkin' Donuts complaint, there is a reference

     18   to Investor 1, Investor 2, and Investor 3, almost like you'd

     19   see in a criminal complaint where a cooperating witness is

     20   not identified by name.

     21                 And what we've asked is for -- for the defendants

     22   to identify that person.

     23                 Now, if defendants are unable to, due to

     24   confidentiality or whatever it may be, we're happy to serve a

     25   subpoena on Dunkin' Donuts for the file related to that and
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      1   fight out the confidentiality issues with respect to the

      2   subpoena and limit it so that's pursuant to the protective

      3   order, attorney's eyes only, whatever -- whatever is

      4   necessary.        But we do believe that -- that those records,

      5   given the allegations in the complaint, which we have the

      6   complaint, but given the allegations in the complaint, which

      7   is publicly filed, as Your Honor mentioned, we believe that

      8   the information related to -- to that case is either directly

      9   relevant to the allegations here of a pattern of racketeering

     10   conduct by the defendant entities and the defendant -- the

     11   individual defendants as well, or that it could lead to --

     12   likely lead to the discovery of admissible evidence.

     13                 THE COURT:           But how does it -- I hear you.   But how

     14   does it -- the settlement -- I mean, that seems like

     15   something that, you know, first of all, there's a certain

     16   protection under the law for settlement, as you know.

     17                 MR. PARIKH:           Of course.

     18                 THE COURT:           I mean that could never be evidential.

     19   But I mean, I'm still not sure how -- you know, people settle

     20   complaints and cases for all kinds of reasons, not the least

     21   of which would be the expense, which both of the parties

     22   sitting here should be considering.               We're just -- you just

     23   spent a whole day on interrogatories, but --

     24                 MR. PARIKH:           Of course.

     25                 THE COURT:           -- but how is the settlement of that
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      1   case relevant?          I mean, I --

      2                 MR. PARIKH:           To be -- right, no, and I'll --

      3          (Simultaneous conversation)

      4                 THE COURT:           -- maybe you'll have to put in papers,

      5   but go ahead.

      6                 MR. PARIKH:           I can be very blunt about it, Judge.

      7                 THE COURT:           Yeah, let's be blunt.

      8                 MR. PARIKH:           If -- if they're able to identify

      9   Investor 1, 2, and 3 and the people that were involved that

     10   alleged the fraud that pro -- you know, caused Dunkin' Donuts

     11   to file this lawsuit against the defendants, I don't think we

     12   need the settlement agreement.               But primary- -- the primary

     13   purpose of obtaining that would be to identify the other

     14   individuals involved in that lawsuit or the allegations that

     15   form the basis of that lawsuit.

     16                 MR. RUSSELL:           Your Honor indicated when we

     17   initially talked about the RICO claim in chambers, you kind

     18   of rolled your eyes and said you don't have a RICO claim.

     19   The long and short of it is this is the only evidence upon

     20   which they base a RICO claim.

     21                 If there was any fraud in here and there was a suit

     22   against Dunkin' Donuts against my client, my client still

     23   wouldn't be a franchisee.

     24                 The bottom line is they were guessing about the

     25   predicate act.          They're hoping to get this to go fishing.          I
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      1   have no problem, if Your Honor's looking at them saying they

      2   can't get our confidential settlement with regard to Dunkin'

      3   Donuts in which my client continues to be a franchisee.                 And

      4   you look at us and say you can't get their agreement.

      5                 Now, he was kicked out of the Dunkin' Donuts

      6   franchise as a result of his lawsuit.               So Dunkin' Donuts

      7   treated them very differently.

      8                 And I'll let you figure out which is going to be

      9   the predicate act.

     10                 But this is a total guess about this lawsuit and --

     11   and what it was and what it resulted in.

     12                 THE COURT:           Well, I mean, did -- is the plaintiffs'

     13   lawsuit or the lawsuit against the plaintiff, was that

     14   involved by settlement or a judgment?

     15                 MR. PARIKH:           The lawsuit that plaintiff was

     16   involved with Dunkin' Donuts, Your Honor, was -- I think it

     17   was filed back in 1998 or so.

     18                 THE COURT:           Yeah.

     19                 MR. PARIKH:           It was resolved by settlement in 2003

     20   as well.

     21                 But -- but with respect to that request which was

     22   made today, as I noted --

     23                 THE COURT:           Yeah.

     24                 MR. PARIKH:           -- what our objection has been that

     25   that's not relevant to any of defendants' claims or defenses
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      1   in this case.         Whether -- you know, our basis for seeking the

      2   information related to this one lawsuit of defendant is that

      3   there's allegations of fraud.               There's -- you know, here,

      4   there's -- there's really no relevance.               And we've agreed to

      5   produce the -- the names of all lawsuits that the plaintiffs

      6   have been involved in the last five years.                I don't know why

      7   we need to go back --

      8                 MR. RUSSELL:           And it would be --

      9                 MR. PARIKH:           -- 15 years to get the information.

     10                 MR. RUSSELL:           -- it would be our position that that

     11   agreement not only had fraud allegations but resulted in the

     12   plaintiffs' elimination as a franchisee, and he's presently

     13   in violation of that presently.

     14                 So that indicates when -- where indicating fraud,

     15   we believe there's a present fraud being committed on Dunkin'

     16   Donuts as a result of that.

     17                 And I'm --

     18                 THE COURT:           Well, let me ask you a question,

     19   Mr. Russell.         First of all, I just want to make one thing

     20   clear.      I mean, if I -- I may have rolled my eyes in chambers

     21   and -- but, you know, a lot of what magistrate judge is --

     22   does is informal.           And we're here on the record today.

     23   But --

     24                 MR. RUSSELL:           Yeah, I maybe I should --

     25                 THE COURT:           You -- no, that's fine that you said
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      1   that.     I have no problem.          But it doesn't -- just for your

      2   clients, it doesn't have much meaning.

      3                 Judge Martini on July 27th denied a 12(b)(6)

      4   motion, as I recall.

      5                 So whatever's in the pleading is in the pleading.

      6   And until you get to summary judgment or trial or whatever,

      7   it's there.

      8                 So I -- you know, I just want to make -- just so

      9   we're clear on that, regardless of what I might think.

     10                 But I guess, it's a little hard to maybe to do this

     11   right off the top of my head.             I'm trying, just for your own

     12   benefit and your clients' benefit, you spent so much time

     13   here, are you willing to -- Mr. Russell, is your client

     14   willing to identify have the number -- persons 1, 2, and 3?

     15   That seems to be what they're asking for.             Are you willing to

     16   identify that or not?

     17                 MR. RUSSELL:         Well, I think, Your Honor, we were

     18   looking for -- if the Dunkin' Donuts suits are relevant, then

     19   the Dunkin' Donuts are relevant.

     20                 I -- my understanding too -- by the way, the

     21   implication it's criminal, Dunkin' Donuts, apparently, names

     22   parties in that manner so that people's names aren't on the

     23   dockets.       So, apparently, they -- they do that, and that's a

     24   specified way of doing it.             It wasn't done for any hidden

     25   reason.      Everybody knew who they were.         They were just named
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      1   in a specific fashion.

      2                 But if we -- if Your Honor -- I have no problem

      3   with if Your Honor believes both Dunkin' Donuts information

      4   is relevant and open discovery to everybody about what's

      5   going on, make the decision later on about things not being

      6   relevant, you know, that's not a problem with us.

      7                 THE COURT:           I don't know how to handle -- I am

      8   not -- I mean, maybe you have to put this in writing, I hate

      9   to do that.        But --

     10                 MR. PARIKH:           Yeah --

     11                 THE COURT:           -- only because I am not -- it's all so

     12   general right now.            I don't know.

     13                 MR. PARIKH:           It is, I understand.

     14                 THE COURT:           I mean, are you willing to produce your

     15   Dunkin' Donuts case?

     16                 MR. PARIKH:           Honestly, the problem with that,

     17   Judge, is that the case was so long ago, and it really is

     18   not -- you know, the -- we have a claim of fraud, RICO, Judge

     19   Martini found that it was adequately pled.

     20                 THE COURT:           Yes.

     21                 MR. PARIKH:           And they don't.   They have a

     22   counterclaim --

     23                 THE COURT:           Right.

     24                 MR. PARIKH:           -- that says we owe money on capital

     25   calls.      What --
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      1          (Simultaneous conversation)

      2                 MR. RUSSELL:           And a fraud claim.   And a fraud

      3   claim.

      4                 MR. PARIKH:           And -- and -- but related to -- to the

      5   plaintiffs' --

      6          (Simultaneous conversation)

      7                 MR. RUSSELL:           -- his -- your plaintiffs' fraud.

      8                 MR. PARIKH:           The counterclaim, Your Honor.

      9                 THE COURT:           Can you -- can you do me a favor?     Can

     10   I just -- could you put it on hold, Lorraine?

     11          (Pause in proceedings)

     12                 THE COURT:           Are we back?   Okay.   We're back on the

     13   record.      I'm sorry.

     14                 But you were saying?          Yeah, there --

     15                 MR. PARIKH:           Yeah, no problem, Judge.

     16                 So -- so I viewed -- if you want it -- and that's

     17   two of the four issues on documents, Judge, is Dunkin'

     18   Donuts, our request for the lawsuit information Dunkin'

     19   Donuts from defendants and their request.

     20                 I view them as mutually exclusive issues.             We have,

     21   as I mentioned, allegations of fraud and RICO.                 Complaint

     22   that we're trying to seek information from, the identity of

     23   those investors, was a complaint that sounded in fraud.

     24                 Defendants' counterclaim has alleged -- and it was

     25   just recently filed so we haven't even responded to it yet,
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      1   but has alleged fraud, although we don't think it's pled with

      2   specificity, but it's alleged fraud that -- and the

      3   allegations of fraud are that plaintiffs in entering into

      4   this agreement with the defendants to purchase these

      5   franchises in Connecticut, didn't actually have enough money

      6   to pay capital costs.               That's the allegation of fraud.

      7                 I don't know how on earth a lawsuit against Jagdish

      8   Patel, which was filed 15 years ago could provide any

      9   discoverable information related to that counterclaim, even

     10   if it was read in the broadest terms of -- in the benefit of

     11   the pleading party, which is the defendants here.

     12                 So we would think that there's a -- there's an

     13   adequate basis to compel the defendants to identify Investor

     14   1 and 2 -- 1, 2, and 3, from that Dunkin' Donuts lawsuit is

     15   to provide additional information regarding that lawsuit, to

     16   the extent it's not publicly available, and -- and at the

     17   same time, we would -- we would note we don't believe that

     18   plaintiffs [sic] have satisfied even that minimum threshold

     19   required to obtain discovery from the plaintiffs regarding

     20   such an old lawsuit because, really, all that would be would

     21   be a fishing expedition for irrelevant information.

     22                 THE COURT:           Yeah.   I don't know.   I mean, let me

     23   ask you a question.            This 1, 2, and 3 business, they were

     24   name parties in the case?

     25                 MR. JACOBS:           No, I believe --
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      1                 -- MR. RUSSELL:         They're just a -- name.

      2                 MR. PARIKH:          I believe what happens, Judge, in

      3   those cases, typically is that if -- if someone -- if someone

      4   feels as though that they're a minority investor in a Dunkin'

      5   Donuts and they feel as though they're being taken for a ride

      6   by their majority investor, they'll report it to Dunkin'

      7   Donuts directly.           Dunkin' Donuts then conducts an

      8   investigation and files a lawsuit.

      9                 MR. RUSSELL:         Yeah, and you'll see -- Dunkin'

     10   Donuts, my client continues to be -- again, this apparently

     11   is a predicate act where Dunkin' Donuts sues my client and

     12   whatever happened, he's still a franchisee.

     13                 In their case, they have a -- Dunkin' Donuts sues

     14   the plaintiff.          He's terminated as a franchisee.        So that --

     15   if you want to figure out which one Dunkin' Donuts thought

     16   was wrongdoing or committed fraud in that, it's not my

     17   client.

     18                 In addition to that, yes, we're alleging fraud.

     19   And that's -- those -- those -- we believe that Dunkin'

     20   Donuts found fraud, and that's why he's terminated from the

     21   system.

     22                 My client continues to remain a good-standing

     23   member of that entity.

     24                 So if Your Honor looks and says both are relevant,

     25   pursuant to, you know, those standards, both are relevant.
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      1                 THE COURT:           Well, I'll -- you know, I can't tell

      2   from what you're just saying here.                They seem to be -- I'll

      3   be honest with you, both of them seem to be on the -- the far

      4   outer reaches of possible relevance.                None of them seem to be

      5   too relevant to the claim here.               I mean, they're different

      6   cases.      You know?       I don't know.

      7                 If you want to put it in a letter or something,

      8   I'll do it.        I don't -- is it worth your time and expense to

      9   do this, to fight over Dunkin' Donuts cases?                Maybe.    That's

     10   up to you.        It's hard to do it just sitting here.

     11                 MR. PARIKH:           I --

     12          (Simultaneous conversation)

     13                 THE COURT:           -- you know, I can't tell.    I don't

     14   really know about that.

     15                 MR. PARIKH:           Absolutely.

     16                 THE COURT:           I know your complaint basically, what

     17   it's about, but what some prior litigations and Dunkin'

     18   Donuts have to do with it, it's kind of hard to do.                  So if

     19   you want to raise that, you can put it in double-spaced

     20   letters --

     21                 MR. PARIKH:           Sure.

     22                 THE COURT:           -- with the exact question and, I guess

     23   what the answer is or what -- you're seeking to be

     24   convince -- to compel.

     25                 MR. PARIKH:           Yeah, maybe it's just a --
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      1          (Simultaneous conversation)

      2                 THE COURT:           -- double-spaced, and I'll take a look

      3   at it and I'll make a decision.

      4                 But what you should address there, very clearly and

      5   directly and briefly is what claim or defense in this case is

      6   the information you're seeking on both sides relevant to.

      7   And I'm having a hard time really understanding that at the

      8   moment.      It's -- you know, I can see where, you know,

      9   speaking perhaps more practically than just pure legally, you

     10   know, if there were other lawsuits significance franchisees,

     11   you know, you're trying to show that the -- perhaps there's

     12   some negative information in there or that -- that could be

     13   used.     But I mean, does it really have to do with the claims

     14   in the complaint and the defenses alleged or the counterclaim

     15   here?     I can't tell exactly from what you're saying.            I just

     16   can't.

     17                 So I'm afraid I can't -- I'd like to resolve that

     18   for you.       But if you really want to -- if you think that's

     19   worth proceeding with that one, I think you're going to have

     20   to put together a little -- you know, a double-spaced letter

     21   on it.

     22                 What's the next dispute that you have?

     23                 MR. PARIKH:           There's a dispute, Judge, defendant

     24   today also again for the first time raised that he would like

     25   plaintiffs' bank records prior to the closing of CT Pizza,
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      1   the acquisition of CT Pizza.

      2                 THE COURT:           What possible relevance does that have,

      3   Mr. Russell?         That --

      4                 MR. RUSSELL:           Well.

      5                 THE COURT:           -- that's the kind of thing you usually

      6   get after there's a judgment or on your counterclaim, I mean.

      7   You can't usually ask for -- I guess you're going to explain

      8   it to me.       I didn't give you a chance yet.          But you can't --

      9   you ask for how much money people have or how they spend

     10   their money unless you have a real --

     11                 MR. RUSSELL:           It's not -- it's not going after the

     12   judgment, Your Honor, part of the claim is not only did my

     13   client and the plaintiff enter into partnership to purchase

     14   existing Pizza Hut franchises --

     15                 THE COURT:           Pizza Huts.

     16                 MR. RUSSELL:           -- but there was also an agreement to

     17   build, a requirement to build an additional -- I -- how many?

     18   Initial 20 new Pizza Hut restaurants.

     19                 THE COURT:           Build.

     20                 MR. RUSSELL:           Build.

     21                 THE COURT:           20 new Pizza Huts.

     22                 MR. RUSSELL:           20 new Pizza Hut restaurants.

     23                 So the -- the information given to my client was,

     24   yeah, because it was -- one total deal, Pizza Hut was going

     25   to allow them this -- without agreeing to build 20 new ones.
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      1   So my client essentially looked at plaintiff and said,

      2   listen, we're going in here, but you know there's a lot of

      3   capital that's required to build 20 Pizza Hut restaurants.

      4   And he made representations that, in fact, he did have that

      5   capital necessary.

      6                 Obviously, my client now has $2.4 million

      7   additional in capital in this project.                  The plaintiff hasn't

      8   made any of the capital calls.                We believe that plaintiff

      9   gave us -- it was fraud in the inducement, told us that he

     10   had the resources to build out the 20.                  Now he's not

     11   providing any money towards the 20.                In fact, we were -- that

     12   development agreement has now been terminated by Pizza Hut.

     13   My client's personally responsible for those obligations.

     14   Plaintiff is not.           Only my client is personally responsible.

     15   That agreement was terminated.                He's now obligated to do

     16   that.

     17                 THE COURT:           I guess -- go ahead, Mr. --

     18                 MR. PARIKH:           Judge, none of the allegations

     19   regarding the development agreement are in the counterclaim.

     20   Not one.

     21                 The counterclaim is entirely focused on capital

     22   calls.

     23                 THE COURT:           On what?

     24                 MR. PARIKH:           On capital calls.

     25                 MR. RUSSELL:           Capital calls.
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      1                 MR. PARIKH:           On capital calls for the entity.    If

      2   the entity's losing money, then the -- the individuals are

      3   responsible for contribute money.

      4                 And the operating agreement, which governed this

      5   entity, has -- you know, has a backup plan, basically that if

      6   a member does not pay its capital calls, then their ownership

      7   value gets diluted.            It's -- you know, straightforward in

      8   that sense.

      9                 And this is presuming everything in their

     10   counterclaim is true, which, obviously, we dispute.

     11                 But there's not one allegation in the entire

     12   counterclaim that relates to the development agreement and

     13   obligation.        I don't know how on earth our perm banking

     14   records could be relevant.               From -- from before the closing.

     15                 THE COURT:           Well, I -- it seems far-fetched in

     16   certain respects.           I guess there could be a question whether

     17   it be at a deposition or otherwise.               I am not going to tell

     18   you how to take depositions or how to do your discovery as to

     19   what Mr. Russell said; in other words, asking Mr. Patel

     20   whether he represented at some time that he had the capital

     21   or the wherewithal to build or finance 26 or however many new

     22   Pizza Huts.        And if the answer was yes -- and if the answer

     23   was no, that changes it around.               If the answer was yes, I

     24   guess you could ask for -- you know, sort of give an outline

     25   of where -- where the -- you know, of the basis for your
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      1   statement that you had the capital.               I don't know if that's

      2   in the pleading.           You're saying that's not even in the

      3   pleading anywhere or what?

      4                 MR. PARIKH:           The only allegation in the

      5   counterclaim, Judge, relates exclusively to -- to these

      6   capital calls and defendants' allegation that the plaintiffs

      7   had a deal to be 25 percent owners of these entities in

      8   Connecticut and that they owe -- that plaintiff has been

      9   responsible for putting in $2.4 million in capital calls and

     10   that defendant has not contributed their -- their share, and

     11   that defendants were fraudulent in saying that they had the

     12   money to make those capital calls.

     13                 MR. RUSSELL:           And we -- and we fund the development

     14   agreement through requests of the partners to put in money to

     15   the business through capital calls.

     16                 MR. PARIKH:           It's not in the -- it's not in the

     17   counterclaim, Judge.

     18                 THE COURT:           Pardon me.

     19                 MR. PARIKH:           It's not in the counter -- that's not

     20   in the counterclaim.

     21                 MR. RUSSELL:           The ability --

     22          (Simultaneous conversation) that's how --

     23                 MR. PARIKH:           It's not alleged in the counterclaim.

     24                 MR. RUSSELL:           That's how a partner makes a request

     25   of another partner to finance the business, including the
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      1   operating agreements, capital calls, $2.4 million later,

      2   plaintiff has not made one.               So whether it's the op- --

      3   whether it's the development agreement, whether it's the --

      4   it's the rent, maybe it's the payroll, my client's $2.4

      5   million in and that's what the capital call is.               Anyway.

      6                 MR. PARIKH:           I think, Judge, I think what you

      7   articulated in terms of asking did the deposition, and then

      8   if --

      9                 THE COURT:           Yeah, I --

     10                 MR. PARIKH:           -- at that point, there's documents

     11   that are needed --

     12                 MR. RUSSELL:           I'm more than happy to ask him at the

     13   deposition.

     14                 THE COURT:           I think it is -- you know, I know you

     15   did resolve some of your other disputes by referring to

     16   things at deposition.               But I think that really one -- I mean,

     17   to just -- even -- even you say his -- his bank account or

     18   which bank account, and then -- well, maybe he has another

     19   brokerage account or maybe he was going to borrow the money

     20   from his cousin or may have been he was going to borrow the

     21   money from, you know, Wells Fargo or -- who knows?               I'm just

     22   trying to say that that one bank account, if it is one, you

     23   know, I think is -- I am not sure that goes directly to --

     24                 MR. RUSSELL:           I'll wait and ask that through

     25   depositions, Your Honor.
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      1                 THE COURT:           I think you have to do it.   You may

      2   come back to me and say, yeah.               At that point, we may want to

      3   see some documents.

      4                 But I can't say that one at the moment.

      5                 What's next?

      6                 MR. PARIKH:           So, Judge, the last issue is an issue

      7   that we had raised with Your Honor on a telephone conference

      8   quite some time ago regarding the plaintiffs' belief that the

      9   defendant improperly obtained confidential business records

     10   of the plaintiff.           And we have -- I think it may be easier to

     11   identify how that's going to be resolved in -- in the

     12   interrogatories, because there are interrogatory issues

     13   there, but that is a document issue as well, but if we can --

     14   if you want to go through the interrogatories, then,

     15   obviously, we can deal with it at that point in time, in

     16   terms of the objections that Your Honor --

     17                 MR. RUSSELL:           Your Honor, we have probably 15 to 20

     18   interrogatories -- I don't know whether you'd -- Your Honor

     19   wants that in a letter and a phone call or wants it now.

     20                 THE COURT:           I mean, how -- how difficult are they?

     21                 MR. PARIKH:           I think some of them may be difficult,

     22   Judge.      And -- and, you know, I still believe -- I think

     23   there are some where just given the late hour, that perhaps

     24   we did need to meet and confer as -- as we should have.

     25                 THE COURT:           Yeah, well, look, I think you're right.
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      1   It's getting late.            And I'm -- you know, they close the

      2   courthouse, and I want to get you folks on the road and out

      3   of town at a reasonable hour.

      4                 And -- so let's take that up, if you want, by

      5   letter or at another conference.                 We can have other

      6   conferences.

      7                 MR. PARIKH:           Okay.    Interrogatory -- well, why

      8   don't we -- we'll talk, Judge.

      9                 THE COURT:           Is there anything else right now you

     10   want to put on the record?                  Because I want to just talk to

     11   you off the record for a minute.

     12                 Go ahead.

     13                 MR. PARIKH:           There's only two other things, Judge.

     14   There is -- we resolved an issue related to a third-party

     15   subpoena to Bob Nathan, earlier -- and counsel and I know

     16   what that agreement was.               Basically we agreed to language for

     17   one paragraph limiting it, and there's an agreement between

     18   the parties respect to certain third-party subpoenas that if

     19   there's a need to seek additional information from those

     20   third parties based upon their initial productions, then

     21   there's no waiver of the ability to do that.

     22                 And then the last thing, Judge, is that earlier

     23   this week, I was out of the country on business, but we

     24   received notices of third-party subpoenas, I think six of

     25   them from plaintiffs [sic].                 We haven't yet had the
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      1   opportunity to review those.               But we'll meet and confer on

      2   those as well.

      3                 But other than those issues, Judge, there are no

      4   other outstanding discovery issues between the parties.

      5                 THE COURT:           Well, good, I want -- I mean, I just

      6   want to thank you for spending the time and working so hard

      7   on it today.

      8                 Let's go off the record.

      9                  (Conclusion of proceedings at 5:25 P.M.)

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